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                         Exhibit B

                    Proposed Final Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                       )
In re:                                                                 ) Chapter 11
                                                                       )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                             ) Case No. 23-11469 (___)
                                                                       )
                                     Debtors.                          ) (Joint Administration Requested)
                                                                       )

          FINAL ORDER (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE
        OPERATING CASH MANAGEMENT SYSTEM, (B) HONOR AND PAY BANK
         FEES, (C) MAINTAIN EXISTING BUSINESS FORMS, (II) SCHEDULING
             A FINAL HEARING, AND (III) GRANTING RELATED RELIEF

                    Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors

and debtors-in-possession (collectively, the “Debtors”), seeking entry of a final order (this “Final

Order”), pursuant to sections 105, 345, and 363 of the Bankruptcy Code, Rules 6003 and 6004 of

the Bankruptcy Rules, and Rule 2015-2 of the Local Rules, (i) authorizing the Debtors to

(a) continue operating the Cash Management System and perform intercompany transactions and

honor intercompany claims, (b) honor and pay the Bank Fees in the normal course, including any

prepetition Bank Fees, and (c) maintain existing business forms, and (ii) granting certain related

relief, all as more fully set forth in the Motion; and upon consideration of the First Day Declaration;

and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding


1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of American
Physician Partners, LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is
5121 Maryland Way, Suite 300, Brentwood, TN 37027.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

an interim hearing before this Court (the “Hearing”), and the Court having entered an interim order

on the Motion [Docket No. ___] (the “Interim Order”) and notice of a final hearing having been

provided; and this Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

               1.      The Motion is granted on a final basis, as set forth in this Final Order.

               2.      The Debtors are authorized, but not directed, to: (a) continue operating the

Cash Management System, substantially as identified on Exhibit C to the Motion and as described

in the Motion; (b) honor their prepetition obligations related thereto; (c) use, in their present form,

all intercompany checks and without reference to the Debtors’ status as debtors in possession;

(d) continue to perform Intercompany Transactions and honor intercompany claims arising

therefrom; (e) continue to use, with the same account numbers, the Bank Accounts in existence as

of the Petition Date, including those accounts identified on Exhibit D to the Motion, and need not

comply with certain guidelines relating to bank accounts set forth in the U.S. Trustee Guidelines

(to the extent applicable); (f) treat the Debtor Bank Accounts for all purposes as accounts of the


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Debtors as debtors in possession; (g) deposit funds in and withdraw funds from the Bank Accounts

by all usual means, including checks, wire transfers, and other debits; (h) pay the Bank Fees,

including any prepetition amounts and any ordinary course Bank Fees incurred in connection with

the Bank Accounts and to otherwise perform their obligations under the documents governing the

Bank Accounts; provided that in the case of each of (a) through (h), such action is taken in the

ordinary course of business and consistent with historical practices.

               3.      The Banks are authorized to continue to maintain, service, and administer

the Bank Accounts as accounts of the Debtors as debtors in possession, without interruption and

in the ordinary course of business consistent with historical practices, and to receive, process,

honor, and pay, to the extent of available funds, any and all checks, drafts, wires, credit card

payments, and ACH transfers issued and drawn on the Bank Accounts after the Petition Date by

the holders or makers thereof, as the case may be, and all such Banks and financial institutions are

authorized to rely on the Debtors’ designation of any particular check or electronic payment

request as approved by this Order. The Banks shall not honor any check, draft, or other payment

item issued prepetition by the Debtors unless instructed or requested by the Debtors, provided that

the Debtors shall only instruct or request any Bank to pay or honor any check, draft, or other

payment item issued on a Bank Account prior to the Petition Date but presented to such Bank for

payment after the Petition Date as authorized by an order of the Court.

               4.      The Banks are authorized to debit the Debtors’ accounts in the ordinary

course of business, consistent with historical practices, without the need for further order of this

Court for: (a) all checks drawn on the Debtors’ accounts which are cashed at the Banks’ counters


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or exchanged for cashier’s checks by the payees thereof prior to the Petition Date; (b) all checks

or other items deposited in one of Debtors’ accounts with such Bank prior to the Petition Date

which have been dishonored or returned unpaid for any reason, together with any fees and costs in

connection therewith, to the same extent the Debtor was responsible for such items prior to the

Petition Date; and (c) all undisputed prepetition amounts outstanding as of the date hereof, if any,

owed to any Bank as service charges for the maintenance of the Cash Management System.

               5.      Any existing agreements between or among the Debtors, the Banks, and

other parties shall continue to govern the postpetition cash management relationship between the

Debtors and the Banks, and all of the provisions of such agreements, including, without limitation,

the termination, fee provisions, rights, benefits, offset rights, and remedies afforded under such

agreements shall remain in full force and effect unless otherwise ordered by the Court, and the

Debtors and the Banks may, without further order of this Court, agree to and implement changes

to the Cash Management System and cash management procedures in the ordinary course of

business, consistent with historical practices and the Debtors’ prepetition secured debt agreements,

including, without limitation, the opening and closing of bank accounts, subject to the terms and

conditions of this Final Order.

               6.      To the extent any of the Debtors’ Bank Accounts are not in compliance with

section 345(b) of the Bankruptcy Code or any of the U.S. Trustee’s requirements or guidelines,

the Debtors shall have until a date that is thirty (30) days from the Petition Date, without prejudice

to seeking an additional extension, to either come into compliance with section 345(b) of the

Bankruptcy Code and any of the U.S. Trustee’s requirements or guidelines or to make such other


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arrangements as are agreed to by the U.S. Trustee or approved by the Court; provided that nothing

herein shall prevent the Debtors or the U.S. Trustee from seeking further relief from the Court to

the extent that an agreement cannot be reached. The U.S. Trustee's and the Debtors’ rights to seek

further relief from this Court on notice in the event that the aforementioned Bank is unwilling to

execute a Uniform Depository Agreement in a form prescribed by the U.S. Trustee are fully

reserved.

               7.      For any Bank at which the Debtors hold Bank Accounts that are party to a

Uniform Depository Agreement with the U.S. Trustee, within fifteen (15) days of the date of entry

of this Final Order, the Debtors shall (a) contact such Bank, (b) provide such Bank with each of

the Debtors’ employer identification numbers, and (c) identify each of their Bank Accounts held

at such Bank as being held by a debtor in possession in the Debtors’ bankruptcy cases. For any

Bank at which the Debtors hold Bank Accounts that are not party to a Uniform Depository

Agreement with the U.S. Trustee, the Debtors shall use their good-faith efforts to cause the Bank

to execute a Uniform Depository agreement in a form prescribed by the U.S. Trustee within thirty

(30) days of the date of this Final Order.

               8.      Subject to the terms hereof, the Debtors are authorized, but not directed, in

the ordinary course of business consistent with historical practices and the Debtors’ prepetition

secured debt agreements, to open any new bank accounts or close any existing Bank Accounts and

enter into any ancillary agreements, including deposit account control agreements, related to the

foregoing, as they may deem necessary and appropriate, provided that the Debtors give notice to

the U.S. Trustee and any official committees appointed in these chapter 11 cases within 15 days


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of opening or closing a bank account. The relief granted in this Final Order is extended to any

new bank account opened by the Debtors in the ordinary course of business after the date hereof,

which account shall be deemed a “Bank Account,” and to the bank at which such account is

opened, which bank shall be deemed a “Bank,” provided that any new domestic bank account

opened by the Debtors shall be established at an institution that is a party to a Uniform Depository

Agreement with the U.S. Trustee or is willing to immediately execute such a Uniform Depository

Agreement.

               9.      All Banks maintaining any of the Bank Accounts that are provided with

notice of this Final Order shall not honor or pay any bank payments drawn on the listed Bank

Accounts or otherwise issued before the Petition Date; provided, however, that any such Bank

shall not be found to be in violation of this Final Order nor liable to the Debtors or their estates

should any such Bank honor or pay any bank payment (a) in a good faith belief that the Court has

authorized such payment to be honored, or (b) as the result of a mistake made despite

implementation of customary item handling procedures.

               10.     The Banks are authorized, without further order of this Court, to deduct any

applicable fees from the applicable Bank Accounts in the ordinary course of business consistent

with historical practices and pursuant to the applicable agreements governing each Bank Account.

               11.     The Banks are authorized, without further order of this Court, to charge

back to the appropriate accounts of the Debtors any amounts resulting from returned checks or

other returned items, including returned items that result from ACH transactions, wire transfers,

or other electronic transfers of any kind, regardless of whether such returned items were deposited


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or transferred prepetition or postpetition and regardless of whether the returned items relate to

prepetition or postpetition items or transfers, including, without limitation, on account of checks

that have been dishonored or returned as a result of insufficient funds in the Bank Accounts, in

each case to the same extent the Debtors were responsible for such items prior to the Petition Date.

               12.     Subject to the terms set forth herein, any Bank may rely upon the

representations of the Debtors with respect to whether any check, draft, wire, or other transfer

drawn or issued by the Debtors prior to the Petition Date should be honored pursuant to any order

of this Court, and no bank that honors a prepetition check or other item drawn on any account that

is the subject of this Final Order (a) at the direction of the Debtors, (b) in a good-faith belief that

this Court has authorized such prepetition check or item to be honored, or (c) as a result of a

mistake made despite implementation of reasonable customary handling procedures, shall be

deemed to be nor shall be liable to the Debtors, their estates, or any other party on account of such

prepetition check or other item being honored postpetition, or otherwise deemed to be in violation

of this Final Order.

               13.     Any Bank is further authorized to honor the Debtors’ direction with respect

to the opening and closing of any Bank Account and accept and hold, or invest, the Debtors’ funds

in accordance with the Debtors’ instructions; provided that the Banks shall not have any liability

to any party for relying on such representations to the extent such reliance otherwise complies with

applicable law.

               14.     The Debtors are authorized, but not directed, to continue engaging in

Intercompany Transactions in connection with the Cash Management System in the ordinary


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course of business, consistent with prepetition practice. The Debtors shall maintain records of all

Intercompany Transactions in accordance with prepetition practice.

                 15.    All postpetition payments from a Debtor to another Debtor under any

postpetition Intercompany Transactions authorized hereunder that result in an intercompany claim

are hereby accorded administrative expense status under section 503(b) of the Bankruptcy Code.

                 16.    Nothing contained in the Motion or this Final Order shall be construed to

(a) create or perfect, in favor of any person or entity, any interest in cash of a Debtor that did not

exist as of the Petition Date or (b) alter or impair the validity, priority, enforceability, or perfection

of any security interest or lien or setoff right, in favor of any person or entity, that existed as of the

Petition Date.

                 17.    Nothing contained in the Motion or this Final Order, and no action taken

pursuant to the relief requested or granted (including any payment made in accordance with this

Final Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount

of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Motion or this Final Order;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’


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estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.

               18.     The Debtors are authorized, but not directed, to issue postpetition checks,

or to effect postpetition fund transfer requests, in replacement of any checks or fund transfer

requests that are dishonored as a consequence of these chapter 11 cases with respect to prepetition

amounts owed in connection with the relief granted herein.

               19.     Notice of the Motion as provided therein shall be deemed good and

sufficient notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Rules are satisfied by such notice.

               20.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Final Order are immediately effective and enforceable upon its entry.

               21.     The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

               22.     This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Final Order.




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                                    Exhibit C

                          Cash Management Schematic


AMERICAN PHYSICIAN
   PARTNERS, LLC
 Concentration Account
    Cadence Bank
    XXXXXX1557
                                    Cadence Bank               Legends Bank
                                Entity Patient Collection    Customer Collection
                                        Accounts             Daily Check Transfer
                                 ZBA - Daily Sweeps
AMERICAN PHYSICIAN                                                  5th 3rd
   PARTNERS, LLC                                             Customer Collection
 Disbursement Account                                        Daily Check Transfer
    Cadence Bank
     XXXXXX1565
                                                              Bank of America
                                                             Customer Collection
                                                             Daily ACH Transfer

AMERICAN PHYSICIAN                                               Frost Bank
  PARTNERS, LLC                                              Customer Collection
   Payroll Account                                           Daily ACH Transfer
   Cadence Bank
    XXXXXX1573
                                                              TX Bank & Trust
                                                             Customer Collection
                                                             Daily Check Transfer
                               AMERICAN PHYSICIAN
AMERICAN PHYSICIAN                PARTNERS, LLC                    US Bank
    PARTNERS, LLC               Utility Deposit Account      Customer Collection
Stipend Deposit Account              Flagstar Bank           Daily Check Transfer
     Cadence Bank                      XXXXX3576
     XXXXXX1714,                                                Wells Fargo
     XXXXXX1722                                              Customer Collection
                                                             Daily ACH Transfer
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                                               Exhibit D

                                          List of Bank Accounts

Debtor Entity                                  Bank Name           Account #       Type
                                                                                   Non-Cadence Collection
ACUTE CARE SPECIALIST LLC                      TX Bank & Trust     XXXXXX0655
                                                                                   Account
ALIGNMD EMERGENCY OF ILLINOIS PLLC             Cadence Bank        XXXXXX1417      Cadence Collections Account
ALIGNMD HOSPITALIST OF ILLINOIS, PLLC          Cadence Bank        XXXXXX1425      Cadence Collections Account
                                                                                   Cadence Collections Account
AMERICAN PHYSICIAN HOLDINGS LLC                Cadence Bank        XXXXXX5608
                                                                                   (dormant)
AMERICAN PHYSICIAN PARTNERS, LLC               Cadence Bank        XXXXXX1557      Concentration Account
AMERICAN PHYSICIAN PARTNERS, LLC               Cadence Bank        XXXXXX1565      Disbursement Account
AMERICAN PHYSICIAN PARTNERS, LLC               Cadence Bank        XXXXXX1714      Stipend Deposit Account
AMERICAN PHYSICIAN PARTNERS, LLC               Cadence Bank        XXXXXX1722      Stipend Deposit Account
                                                                                   Patient Refunds Account
AMERICAN PHYSICIAN PARTNERS, LLC               Cadence Bank        XXXXXX3896
                                                                                   (dormant)
AMERICAN PHYSICIAN PARTNERS, LLC               Cadence Bank        XXXXXX1573      Payroll Account (Checks Only)
AMERICAN PHYSICIAN PARTNERS, LLC               Flagstar Bank       XXXXXX5197      Utility Deposit Account
APP ICU PLLC                                   Cadence Bank        XXXXXX1001      Cadence Collections Account
APP OF ALABAMA ED LLC                          Cadence Bank        XXXXXX6560      Cadence Collections Account
APP OF ALABAMA HM LLC                          Cadence Bank        XXXXXX1696      Cadence Collections Account
APP OF ARKANSAS ED PLLC                        Cadence Bank        XXXXXX1433      Cadence Collections Account
APP OF ARKANSAS HM PLLC                        Cadence Bank        XXXXXX7169      Cadence Collections Account
APP OF EAST TENNESSEE ED PLLC                  Cadence Bank        XXXXXX7952      Cadence Collections Account
APP OF EAST TENNESSEE HM PLLC                  Cadence Bank        XXXXXX2169      Cadence Collections Account
APP OF FLORIDA ED LLC                          Cadence Bank        XXXXXX1688      Cadence Collections Account
APP OF FLORIDA HM LLC                          Cadence Bank        XXXXXX0797      Cadence Collections Account
APP OF INDIANA ED PLLC                         Cadence Bank        XXXXXX7986      Cadence Collections Account
APP OF INDIANA HM PLLC                         Cadence Bank        XXXXXX7978      Cadence Collections Account
APP OF KANSAS ED PLLC                          Cadence Bank        XXXXXX9601      Cadence Collections Account
                                                                                   Non-Cadence Collection
APP OF KENTUCKY ED PLLC                        Legends Bank        XXXXXX4155
                                                                                   Account
APP OF MISSISSIPPI ED LLC                      Cadence Bank        XXXXXX0245      Cadence Collections Account
APP OF NEVADA ED PLLC                          Cadence Bank        XXXXXX7960      Cadence Collections Account
APP OF NEW MEXICO ED PLLC                      Cadence Bank        XXXXXX5794      Cadence Collections Account
APP OF NEW MEXICO HM PLLC                      Cadence Bank        XXXXXX1505      Cadence Collections Account
APP OF OHIO ED PLLC                            Cadence Bank        XXXXXX7151      Cadence Collections Account
APP OF OHIO HM PLLC                            Cadence Bank        XXXXXX6822      Cadence Collections Account
APP OF SOUTH CAROLINA ED PLLC                  Cadence Bank        XXXXXX5683      Cadence Collections Account
APP OF SOUTH CAROLINA HM PLLC                  Cadence Bank        XXXXXX5691      Cadence Collections Account

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Debtor Entity                                  Bank Name            Account #       Type

APP OF SOUTHERN ARIZONA ED LLC                 Cadence Bank         XXXXXX7599      Cadence Collections Account
APP OF SOUTHERN ARIZONA HM LLC                 Cadence Bank         XXXXXX7581      Cadence Collections Account
APP OF SOUTHERN NEW MEXICO ED PLLC             Cadence Bank         XXXXXX0862      Cadence Collections Account
                                                                                    Non-Cadence Collection
APP OF TENNESSEE ED PLLC                       Legends Bank         XXXXXX1854
                                                                                    Account
APP OF TENNESSEE HM PLLC                       Cadence Bank         XXXXXX6578      Cadence Collections Account
                                                                                    Cadence Collections Account
APP OF WEST VIRGINIA HM PLLC                   Cadence Bank         XXXXXX0252
                                                                                    (dormant)
APPTEXASED PLLC                                Cadence Bank         XXXXXX6830      Cadence Collections Account
APPTEXASHM PLLC                                Cadence Bank         XXXXXX6848      Cadence Collections Account
CAPITAL EMERGENCY PHYSICIANS MADISON, LLC      Cadence Bank         XXXXXX2029      Cadence Collections Account
CAPITAL EMERGENCY PHYSICIANS PLLC              Cadence Bank         XXXXXX2037      Cadence Collections Account
DEGARA APP HM PLLC                             Cadence Bank         XXXXXX0212      Cadence Collections Account
DEGARA APP PLLC                                Cadence Bank         XXXXXX3956      Cadence Collections Account
                                                                                    Non-Cadence Collection
ELITE EMERGENCY PHYSICIAN SERVICES PLLC        US BANK              XXXXXX0795
                                                                                    Account
                                                                                    Non-Cadence Collection
ELITE EMERGENCY SERVICES OF ALABAMA LLC        US BANK              XXXXXX0712
                                                                                    Account
                                                                                    Non-Cadence Collection
ELITE EMERGENCY SERVICES, PLLC                 US BANK              XXXXXX0720
                                                                                    Account
EMERGENCY SPECIALISTS OF WELLINGTON,                                                Non-Cadence Collection
                                               Wells Fargo          XXXXXX4581
DEPOSITORY ACCOUNT                                                                  Account
EMERGIGROUP PHYSICIAN ASSOCIATES PLLC C/O                                           Non-Cadence Collection
                                               Frost Bank           XXXXXX1630
AMERICAN PHYSICIAN PARTNERS                                                         Account
                                                                                    Non-Cadence Collection
KALAMAZOO EMERGENCY ASSOCIATES PLC             5th 3rd              XXXXXX7900
                                                                                    Account
KIRBY EMERGENCY PHYSICIANS PLLC C/O AMERICAN                                        Non-Cadence Collection
                                               Frost Bank           XXXXXX5040
PHYSICIAN PARTNERS                                                                  Account
LONGVIEW EMERGENCY MEDICINE ASSOC PLLC                                              Non-Cadence Collection
                                               TX Bank & Trust      XXXXXX4293
LEADING EDGE MEDICAL ASSOC PLLC                                                     Account
                                                                                    Non-Cadence Collection
PROGRESSIVE MEDICAL ASSOCIATES PLLC            Bank of America      XXXXXX5875
                                                                                    Account
SAN JACINTO EMERGENCY PHYSICIANS PLLC C/O                                           Non-Cadence Collection
                                               Frost Bank           XXXXXX5238
AMERICAN PHYSICIAN PARTNERS                                                         Account
                                                                                    Non-Cadence Collection
TEP SELECT EMERGENCY SPECIALISTS LLC           Wells Fargo          XXXXXX4510
                                                                                    Account
                                                                                    Non-Cadence Collection
TEXOMA EMERGENCY PHYSICIANS, PLLC              Wells Fargo          XXXXXX8280
                                                                                    Account
                                                                                    Non-Cadence Collection
TOWN SQUARE EMERGENCY ASSOCIATES, PLLC         Wells Fargo          XXXXXX3530
                                                                                    Account
TRUEPARTNERS COMANCHE EMERGENCY                                                     Non-Cadence Collection
                                               Wells Fargo          XXXXXX2077
SPECIALISTS, PLLC                                                                   Account


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Debtor Entity                                 Bank Name          Account #       Type

TRUEPARTNERS LAKEWOOD INPATIENT SPECIALISTS                                      Non-Cadence Collection
                                              Wells Fargo        XXXXXX418
PLLC                                                                             Account
TRUEPARTNERS MANATEE EMERGENCY SPECIALISTS                                       Non-Cadence Collection
                                           Wells Fargo           XXXXXX6491
PLLC                                                                             Account
TRUEPARTNERS NORTHWEST EMERGENCY                                                 Non-Cadence Collection
                                              Wells Fargo        XXXXXX2300
ASSOCIATES, PLLC                                                                 Account
TRUEPARTNERS RANCH EMERGENCY SPECIALISTS                                         Non-Cadence Collection
                                              Wells Fargo        XXXXXX4528
PLLC                                                                             Account
TRUEPARTNERS WESTLAKE EMERGENCY                                                  Non-Cadence Collection
                                              Wells Fargo        XXXXXX6762
SPECIALISTS PLLC                                                                 Account
WEST HOUSTON EMERGENCY PHYSICIANS PLLC C/O                                       Non-Cadence Collection
                                              Frost Bank         XXXXXX6373
AMERICAN PHYSICIAN PARTNERS                                                      Account
                                                                                 Non-Cadence Collection
WOODLANDS EMERGENCY PHYSICIANS PLLC           Frost Bank         XXXXXX8954
                                                                                 Account




                                                   3
